         Case 4:20-cv-00806-KGB Document 23 Filed 10/21/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

MICHAEL ANDREW JOHNSON                                                                  PLAINTIFF
ADC #110504

v.                             Case No. 4:20-cv-00806-KGB-JTR

Wendy Kelley, Director,                                                               DEFENDANT
Arkansas Department of Correction, et al.

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Michael Andrew Johnson’s complaint is dismissed without prejudice. The relief sought is denied.

The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from

the Order and Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.


                                                       __________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
